 Case 5:16-cr-50032-TLB Document 42         Filed 08/16/16 Page 1 of 1 PageID #: 134



                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                          CASE NO. 5:16-CR-50032-001

SANTIAGO SALINAS                                                           DEFENDANT


                                        ORDER


      Currently before the Court is the Report and Recommendation (Doc. 40) filed in this

case on August 15, 2016, by the Honorable Erin L. Setser, United States Magistrate Judge

for the Western District of Arkansas. Both parties have waived the right to object to the

Report and Recommendation for the purpose of expediting acceptance of the guilty plea

in this matter. (Doc. 39)

      The Court has reviewed this case and, being well and sufficiently advised, finds as

follows: the Report and Recommendation is proper and should be and hereby is

ADOPTED IN ITS ENTIRETY. Accordingly, Defendant's guilty plea is accepted, and the

written plea agreement is TENTATIVELY APPROVED , subject to final approval at

sentencing .                           ~

       IT IS SO ORDERED on this / E 'day of P,ugust, 2016 .



                                                    L. j'ROOKS
                                                        TES DISTRICT JUDGE
